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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA : No. 3:23-CR-147
V. : (JUDGE MANNION)

DARYL RINKER, > (Electronically Filed)
Defendant

DEFENDANT'S ACKNOWLEDGMENT OF
RIGHTS WAIVED BY GUILTY PLEA

1. I understand the nature of the charges to which my proposed
plea of guilty to Count 1 of the Information filed in the Middle District of
Pennsylvania to be a violation of 18 U.S.C. § 371 — Conspiracy to Commit
Concealment and Disposal of Major Artwork, and _ Interstate
Transportation of Stolen Property.

2. Ifurther understand that for the charge of Count 1, there is a
maximum possible sentence of five (5) years imprisonment, a fine of
$250,000, a maximum term of supervised release of three (3) years and a
$100 special assessment.

I further understand that the Judge could sentence me to a term of
supervised release, to be determined by the court, to follow any period of
incarceration. I understand that during any period of supervised

release, I will be under the supervision of a United States Probation
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Officer and will be subject to certain conditions which may restrict my
freedom of movement, association, possession of weapons, use of alcohol
or controlled substances, etc. I further understand that during any
period of supervision I may be required to participate in rehabilitative
programs and will be required to make routine reports to the Probation
Officer and answer his questions truthfully and to follow his instructions.
I further understand that should I violate any conditions of supervised
release, the Court may revoke my supervised release and impose a
further prison term.

I understand that in determining my sentence, the Court is
obligated to calculate the applicable sentencing guidelines range and to
consider that range, possible departures under the Sentencing
Guidelines, and other sentencing factors under 18 U.S.C. Section 3553
(a).

I understand that as a result of this conviction I may lose valuable
civil rights including the right to vote, the right to sit on a jury, the right
to hold public office and the right to ever possess a firearm.

I understand that as part of my plea agreement I have waived my

right to appeal the conviction and sentence in this case.
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Finally, I understand that if 1 am not a citizen that deportation may
be a possible consequence of a conviction.

3. I am represented by an attorney, Christopher P. Caputo,
Esquire. I fully understand that I have the right to be represented by an
attorney at every stage of these proceedings against me and, if necessary,
one will be appointed to represent me.

4.  |further understand the following:

I have the right to plead not guilty and persist in that plea;

° I have the right to a jury trial;

° I have the right to be represented by counsel at trial and at all
stages of this case;

° I have the right at trial to confront and cross-examine witnesses

against me;

° I have the right at trial to be protected from compelled self-

incrimination;
° I have the right at trial to testify and present evidence;
° I have the right to compel the attendance of witnesses on my behalf

and to subpoena records in my defense for trial;
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° I recognize that I have the right to move to suppress the evidence
against me,

° I realize that, by pleading guilty, I am giving up all of these rights,
and there will not be a trial of any kind.

5. [understand that if I enter a plea of guilty to Count 1 of the
Information, there will not be a further trial of any kind so that by
pleading guilty, I am waiving the right to a trial.

6. I have discussed these matters with my attorney and am
satisfied with his representation of me in these proceedings.

7. No promise, threats or any other inducements of any kind
have been made to me in regard to my plea of guilty, apart from the plea
agreement. Iam entering into this plea voluntarily with full knowledge
of what rights I am giving up.

8. [am aware that, by entering a plea of guilty, I am admitting
that what the Government says about me in Count 1 of the Information
is true and that I did, in fact, commit the offenses with which I am

charged.
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9. JI understand that if I enter a plea of guilty to Count 1 of the
Information, the Court may ask me questions about the offense to which
I have pleaded, and if I answer these questions falsely under oath, my
answers later may be used against me in a prosecution for perjury or false
statement.

I fully understand the foregoing statement, consisting of five (5)

typewritten pages.
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Dated -— (DARWY RINKER

as

I am the defendant’s counsel. I have carefully reviewed every part of
this statement with the defendant.

63a) > ——
Dated CHRISTOPHER P. CAPUTO, ESQUIRE
Counsel Defendant

